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                 IN THE UNITED STATES DISTRICT COURT
             FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                             AT CHARLESTON

UNITED STATES OF AMERICA

v.                                        CRIMINAL NO. 2:93-00196-02


JEROME THOMAS


                       MEMORANDUM OPINION AND ORDER

          Pending before the court is defendant’s motion, pursuant

to 18 U.S.C. § 3582(c)(2), for a reduction in his sentence based

on a subsequent reduction in the applicable sentencing guideline.

(Doc. No. 404).       On April 30, 2014, the United States Sentencing

Commission submitted to Congress an amendment to the federal

sentencing guidelines that reduces the guidelines applicable to

drug trafficking offenses.       Specifically, Amendment 782 reduces

by two the offense levels assigned in the Drug Quantity Table,

resulting in lower guideline ranges for most drug trafficking

offenses.    Amendment 782, sometimes called “drugs minus two” or

the “2014 drug guidelines amendment,” took effect on November 1,

2014.   On July 18, 2014, the Sentencing Commission voted to give

retroactive effect to Amendment 782.          Amendment 782 is however

subject to the following limitation: “The court shall not order a

reduced term of imprisonment based on Amendment 782 unless the

effective date of the court’s order is November 1, 2015, or

later.”   U.S.S.G. § 1B1.10(e)(1).        The court has received
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materials from the United States Probation Office regarding

defendant’s eligibility for a sentence reduction.

         Based on the foregoing, the court DIRECTS the Federal

Public Defender to undertake representation of the defendant or,

if the Office is unable to represent defendant, refer the matter

to the CJA Supervising Attorney so that counsel may be appointed.

The court further DIRECTS that, within ten days of the entry of

this Order, the United States and defendant file written

memoranda addressing all relevant issues, including eligibility,

whether defendant should receive a reduction, and, if so, the

extent of any reduction.      The Probation Office is DIRECTED to

make its Addendum to the Presentence Report available to counsel

if it has not already done so.

         The Clerk is DIRECTED to send a copy of this Memorandum

Opinion and Order to defendant, the United States Attorney, the

Federal Public Defender, and the United States Probation Office.

         IT IS SO ORDERED this 10th day of August, 2016.

                                         ENTER:



                                          David A. Faber
                                          Senior United States District Judge




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